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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                              SOUTH BEND DIVISION


KATRINA BARRON,                                    )
    Plaintiff,                                     )
                                                   ) CAUSE NO: 3:11-cv-440 JVB
v.                                                 )
                                                   )
UNIVERSITY OF NOTRE DAME DU LAC                    )
d/b/a NOTRE DAME UNIVERSITY,                       )
       Defendant.                                  )


              APPENDIX IN SUPPORT OF PLAINTIFF’S RESPONSE
     IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Local Rules 5-4(a) and 56-1(b), the Plaintiff hereby designates the following
evidence in support of Plaintiff’s Response in Opposition to Defendant’s Motion for Summary
Judgment.
       1.     Excerpts from the deposition of Katrina Barron (Volumes 1 & 2) – pages 1-415

       2.     From Notre Dame’s response to Plaintiff’s Requests for Documents, portions of
              the Academic Articles effective during 2009, more specifically Appendix A--
              appeal procedure for Contract Renewal, Promotion, or Tenure Decisions
              Allegedly the Product of Sex Discrimination [bates-numbered NOTRE
              DAME/BARRON 00540, 00569-71, 00587-588]

       3.     Letter dated May 4, 2009 from Provost Thomas Burish regarding failure to
              promote to tenure and terminating Barron effective May 4, 2010 [bates-numbered
              Pl’s000399; see also, DE#14-4 -- Pl’s Am. Compl. Ex.C]

       4.     Letter dated May 11, 2009 from College of Science informing Barron decision to
              deny promotion to tenure was made by Notre Dame’s President, Reverend John
              Jenkins [bates-numbered Pl’s000438; see also, DE#14-5 – Pl’s Am. Compl.
              Ex.D]

       5.     Letter dated December 2, 2009, inviting Barron to work one academic year at the
              Max Planck Institute for Mathematics [bates-numbered Pl’s001152]

       6.     Letter dated December 21, 2009 from Associate Provost Pope-Davis regarding
              reconsideration of Barron’s Appendix A appeal [bates-numbered Pl’s000400-401;
              see also, DE#14-6 – Pl’s Am. Compl. Ex.E]
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     7.    Cites portions of Barron’s Appendix A appeal providing statistical evidence of
           sex/female based discrimination within Notre Dame’s department of mathematics
           [bates-numbered Pl’s000524-525]

     8.    Office of Institutional Research’s gender and ethnicity analyses of teacher and
           course evaluations (TCEs) from Fall 1997 to Spring 1999 [bates-numbered
           Pl’s000582-583]

     9.    Cited portions of Pl.’s Response to Def.’s First Set of Interrogatories (7 pages)

     10.   June 9, 2010 letter regarding Notre Dame’s approval of Barron’s promotion to
           Associate Professor of Mathematics with tenure, and constituting Barron’s new
           contract for employment [bates-numbered Pl’s000651-652; see also, DE#14-8 –
           Pl’s Am. Compl. Ex.G]

     11.   Barron’s acceptance of appointment to the rank of Associate Professor with
           tenure dated June 14, 2010 [bates-numbered Pl’s000650; see also, DE#14-9 – Pl’s
           Am. Compl. Ex.H]

     12.   Notre Dame’s approval dated June 23, 2010 for Barron’s unpaid leave for the
           2010-2011 academic year [bates-numbered Pl’s000649; see also, DE#14-10 – Pl’s
           Am. Compl. Ex.I]

     13.   Plaintiff’s EEOC Intake Questionnaire dated February 18, 2010 [see also, DE#14-
           1 – Pl’s Am. Compl. Ex.A-1]

     14.   Plaintiff’s EEOC Charge of Discrimination [see also, DE#14-2 – Pl’s Am. Compl.
           Ex.A-2]

                                           Respectfully submitted,

                                         Blachly, Tabor, Bozik & Hartman

                                  BY:    /s/ Colby A. Barkes
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                                CERTIFICATE OF SERVICE

        I certify that on the 29th day of October, 2014, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which sent notice to the following CM/ECF
participants: canton@taftlaw.com and bburgan@taftlaw.com

                                                            /s/ Colby A. Barkes




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